USDC IN/ND case 3:21-cv-00961-JD-MGG document 18 filed 12/27/21 page 1 of 4


                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA
                                 SOUTH BEND DIVISION
BROOKE KLEVEN and CHRISTOPHER             )
KLEVEN Individually and as Parents and    )
Natural Guardians of HENDRIK KLEVEN,      ) Removal from the St. Joseph Circuit Court
a Minor, JAMES KLEVEN, a Minor,           ) Cause No. 71C01-2111-CT-000437
Deceased, and NATALIE KLEVEN, a Minor, )
Deceased,                                 )
                                          )
Plaintiffs,                               )
                                          )
v.                                        ) CAUSE NO. 3:21-cv-00961-JD-MGG
                                          )
ST. JOSEPH COUNTY, JEFFREY DOWNEY, )
In His Official Capacity, JENNIFER        )
STITSWORTH, In Her Official Capacity,     )
CITY OF MISHAWAKA, CLAY TOWNSHIP, )
GREAT LAKES CAPITAL MANAGEMENT , )
LLC DBA CITY PLAZA, LLC, BRADLEY           )
COMPANY, LLC and MOTOROLA                  )
SOLUTIONS, INC.,                           )
                                           )
Defendants.                                )

               NOTICE OF AUTOMATIC INITIAL EXTENSION OF TIME

       Defendant Clay Township, by counsel, pursuant to Northern District Local Rule 6-1(b),

for its Notice of Automatic Initial Extension of Time to Respond to Plaintiffs’ Complaint, state as

follows:

       1.      Defendant was recently served with Plaintiffs’ Complaint, and said Complaint was

recently removed from state court.

       2.      The deadline to respond to Plaintiffs’ Complaint following removal is December

28, 2021, and such deadline has not expired or previously been extended.

       3.      The extension does not interfere with case management plans, scheduled hearings,

or other case deadlines.
USDC IN/ND case 3:21-cv-00961-JD-MGG document 18 filed 12/27/21 page 2 of 4



          4.     Undersigned counsel attempted to contact Plaintiffs’ counsel regarding the

automatic extension of time to respond and did not receive a response prior to the filing of this

Notice.

          WHEREFORE, Defendant Clay Township, by counsel, respectfully prays this Court for

an order granting them an additional 28 days, up to and including January 25, 2022, in which to

respond to Plaintiffs’ Complaint and for all other relief proper in the premises.



                                                      Respectfully submitted,

                                                      /s/ Jeb A. Crandall
                                                      Jeb A. Crandall, #26323-49
                                                      One of the Attorneys for Defendant Clay
                                                      Township




Jeb A. Crandall, #26323-49
Christopher A. Farrington, #34006-49
Bleeke Dillon Crandall, P.C.
8470 Allison Pointe Boulevard, Suite 420
Indianapolis, Indiana 46250-4365
Phone: (317) 567-2222
Fax: (317) 567-2220
jeb@bleekedilloncrandall.com
drew@bleekedilloncrandall.com

                                  CERTIFICATE OF SERVICE

          I hereby certify that on the 27th day of December, 2021 a true and complete copy of the

foregoing document was served electronically upon all counsel of record via email generated by

the Court’s ECF system to the following:


          Molly M. Heber (34135-45)
          JOHN M. MOLLOY LAW GROUP
          177 N. State St., 3rd Floor
USDC IN/ND case 3:21-cv-00961-JD-MGG document 18 filed 12/27/21 page 3 of 4



     Chicago, IL 60601
     molly@molloy-law.com
     Attorney for Plaintiff

     Peter J. Agostino
     Stephanie L Nemeth
     Tracey Steele Schafer
     Anderson Agostino & Keller, P.C.,
     131 S. Taylor Street, South Bend, IN 46601
     agostino@aaklaw.com
     nemeth@aaklaw.com
     schafer@aaklaw.com
     Attorney for Defendants, St. Joseph County,
     Jeffrey Downey and Jennifer Stitsworth

     John D. LaDue
     Erin L. Hanig
     SouthBank Legal: LaDue, Curran, Kuehn
     100 E. Wayne Street, Suite 300
     South Bend, IN 46601
     jlaude@southbank.legal
     ehanig@southbank.legal
     Attorneys for Defendant Motorola
     Solutions, Inc.

     Austin T Kearney
     Kevin W Kearney
     Hunt Suedhoff Kalamaros LLP - SB/IN
     205 W Jefferson Blvd Ste 300
     PO Box 4156
     South Bend, IN 46634-4156
     akearney@hsk-law.com
     kkearney@hsk-law.com
     Attorneys for Co-Defendant Bradley Company, LLC




                                                   /s/ Jeb A. Crandall
USDC IN/ND case 3:21-cv-00961-JD-MGG document 18 filed 12/27/21 page 4 of 4
